                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

 IN RE:                                              )
                                                     )
 William Barrier Roberts,                            )    CASE NO. 18-83442-CRJ11
                                                     )
          Debtor(s)                                  )    CHAPTER 11


        MOTION TO CONVERT CASE TO ONE UNDER CHAPTER 7 OR IN THE
          ALTERNATIVE DISMISS CASE PURSUANT TO 11 U.S.C. § 1112(b)

         COMES NOW the United States Bankruptcy Administrator for the Northern District of
 Alabama (“BA”), by and through the undersigned counsel of record, and hereby files this Motion
 to convert the above case to one under Chapter 7, or in the alternative dismiss the case, whichever
 the Court finds to be in the best interests of creditors and the estate. In support thereof, the BA states
 as follows:

         1. The Debtor commenced the above-styled case by filing a voluntary petition under Chapter
 11 of the Bankruptcy Code on November 16, 2018.

        2. The Debtor is delinquent in filing its Quarterly Fee Statements and in payment of chapter
 11 quarterly fees, as authorized by the Judicial Conference of the United States pursuant to 28 U.S.C.
 § 1930(a)(7). The aforesaid constitutes “cause” warranting dismissal or conversion to chapter 7
 under 11 U.S.C. § 1112(b).

         WHEREFORE, based on the foregoing grounds, the Bankruptcy Administrator moves the
 Court pursuant to 11 U.S.C.§1112(b), to convert the case to one under Chapter 7 or in the alternative
 dismiss the case, whichever the Court finds to be in the best interests of creditors and the estate, and
 for such other, further and different relief to which he may be entitled.

 Respectfully submitted 28 March 2019.

                                                 J. THOMAS CORBETT
                                                 United States Bankruptcy Administrator for the Northern
                                                 District of Alabama

                                                 BY:      /s/ Richard M. Blythe
                                                          Richard M. Blythe
                                                          Assistant U.S. Bankruptcy Administrator
                                                          Alabama. Bar ID: ASB-3199-B52R

 OF COUNSEL:
 United States Bankruptcy Administrator
 Northern District of Alabama
 Seybourn H. Lynne Federal Building



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 Post Office Box 3045
 400 Well Street NE, Room 236
 Decatur, Alabama 35602
 (256) 340-2740

                                 CERTIFICATE OF SERVICE

         I hereby certify that on 28 March 2019, I have served a copy of the foregoing on the parties
 listed below by depositing the same in the United States Mail, postage prepaid and properly
 addressed, or if the party being served is a registered participant in the CM/ECF System for the
 United States Bankruptcy Court for the Northern District of Alabama, service has been made by a
 "Notice of Electronic Filing" pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the
 Court's Administrative Procedures.

 Stuart M Maples, Esq., Attorney             for   Debtor,   Via    Electronic   CMECF       Service
 smaples@mapleslawfirmpc.com

                                               /s/ Richard M. Blythe
                                               Richard M. Blythe
                                               Assistant U.S. Bankruptcy Administrator




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